        Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 1 of 6 PageID 165
.\a 245B (Rev 06105) Sheer I - Judgment m a Cnrninal Case

                            UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISlON



UNITED STAIES OFAMEIUCA                                         JUDGMENT IN A CRIMINAL CASE
                                                                CASE NUMBER: 8:07-cr-151-T-30EAJ
                                                                USMNUMBER: 49430-018
VS.


3EhlTO ROBERTO ZbXIGA
                                                                Defendant's Attorney: Damd Secular, pda.

THE DEFENDANT.

2i_ pleaded gullty to count(s) ONE of the Ind~ctment.
- pleaded nolo contendere to count(s) wluch was accepted by the court.
- was found gu~ltyon com~t(s)after a plea of not guilty
                                    NATURE OF OFFENSE                              OFFENSE ENDED

46 U.S.C. 2170506(a) and (b) and Conspiracy to Possess With Intent to              April 26,2007                       One
21 U.S.C. $960@)(1)(B)(ii)       Distribute Five Kilograms or More
                                 of Cocaine While on Board a Vessel
                                 Subject to the Jurisdiction of the
J                                United States


       The dcfcndant is scntcnccd as providcd in pages 2 through 6 of this judgment. The sentence is unposed pursuant to the Sentencing
Refom1 Act of 1984.

- Tlie defendant has been found not gudty on coirnt(s)
X Count(s) TWO of the indictment is dismssed on the niotion of the Umted States
-
IT IS FURTHER ORDEREI) that the defendant must notify the United States Attorney for this district within 50 days of any c h a n p a f
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fidly p a s .
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                   Datc of lmpos~tronof Sentencc September 2& 2087




                                                                                   DATE September -,      3 3Z107
           Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 2 of 6 PageID 166
A 0 245B ( R e \ 06'05) Shed 2 - Ilnprisonlnent (Judgment in a Criminal Case)
Defendant:             BENlTO ROBERTO ZUNIGA                                                                              Judgment - Page 3of
Casc No.:              8:07-cr- I 5 1 -T-30E.4J




          After considering the advisory sentencing guidelines ant1 all of t h e factors identified in Title 18 U.S.C. 55
3553(a)(l)-(7), the co11l.t finds t h a t t h e sentence irnposed is sufficient, b u t not greater t h a n necessary, to cornply with
t h e statutorj. purposes of sentencing.


         The tiefericta~ltis hereby cominitted to the custody of the Ll~iiteclStates Bureau of Prisons to be imprisoned f o r
a total t e r m of O 3 E NUYDRED a n d SIXTY-ICTGHT (168) MONTHS as t o C'or~ntO n e of t h e Inciictrnent




X The court n~ak:s the following reco~nmendat~ons     to the Bureau of I'risons: 'I'he defendant shall be placed at cithcr ITI
Coleman or FCI Fort Dix. The defendant shall participate in the UNIVOR pro,oram.



 J. Tlic d e i c r d x i is ;-en a n d 4 to the cilstodv of thc Unltecl States blarshal
--
- 'I'ijc dcfcndlnr- ~ 1 i ~5111
                              i l ' l-cn-lcrt o the Unltcd State3 hlarshal for this distr~ct.

               at - a.m.ii1.m. on -.
            - as notified by lhc United States ~Marslial.


- The defendant shall surrcndcr for service of scntence at thc inst~tut~on
                                                                        designated by thc Bure:iu of Pr~sons.




            Defendant delivered on                                                      to
- at                                                                             , with 3 certified copy ol'this judgment.



                                                                                                Uni [el! Stiles Marshal

                                                                                  By:
                                                                                                         Deputy United States hlarshal
         Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 3 of 6 PageID 167


Defendant:            BENITO ROBERTO ZUNIGA
Case No.:             8:07-cr- 15 I -T-30E.AJ
                                                               SUPERVISED RELEASE

           U j ~ o nrelease f r o m inlprisonment, thc defendant sliall b e or1 supcl-vised I-ele;~scfor a t e r m of'FIVE (5) YE.4RS a s to C o u n t
0 1 1 eof the Intiictme~it.




T h e defendant shall not co~nrnitanother federal, state, or local crirne. T h c defendant shall not unlan~fullypossess a controlled substance.
T h e defendant shall refrain from any unla~vfiiluse o f a controlled substance. T h e defendant shall submit to one drug test \i.ithin 15 days
of releast- fi-om iluprisonnlcnt and at least two pcriodic drug tests thereafter, as determined by the court.


          'I-he defendant sllnll nut possess a fireai-n~,destructive device, or m y other d:~ngerousw e a p o ~ i .

          The defendant shnll coopcrate in the collection o f DNA as directcd by the p r o b a t i m officer

           I f this judgclent inlposes a fine o r restitution it is a condition o f supervised r e l e ~ s ethat the defendant pay in accordance wirh the
           S c h e h l e o f l'aynents sheet o f this judgment.

           Th.: defa:ilmt must :omply with thc standard conditions that have heen adopted by this cou11 as \wll as with m y additional
           conditions on the :ittachecl page.



           tlie dcfendant shall not Icavc the judicial district without the permission of the c ~ ~orr psolxition
                                                                                                        l         officcr;

           tne dcfcnkint shall report to the probation officer a ~ i dshall submit a truthful and complete writtt'n report within the first five days of each
           nlo ~t:):

             tlic dcfendant shall answer truthfi~ll!. dl inquiries by tlic probat~onot'l?cer and follow ~ l i cinsrructions of tlie probrition otticcr;

             the defendant shall support his or her dcpcndents and meet other family responsibilitics:

             tlie dcfendant shall work regularly a1 a Iwful occupation, i~nlessescuscct b!, the prohation officcr for sclioolingl training, 01-otlior
             xccptable reasons;

             the d:fmdi:nr shall ndtlfy the probation officer a: least ten days prior to any change in residence or employment;

             the defendant shall I-:frain from euccsslvc use of alcohol and shall not p~t.chasc,POSSCSS,   use, distribute, or adnii~ilsterany controlled
             substuncc or any p a ;iplicrnali:i related to any controlled substances, cxccpt as pscscrilwd by a physician;

             the defendant shall not frequent places where controlled substances arc illcgrllly sold, uscd. distributcd, or ~dmlnlstcr-ed;

             the dcfendant shall not associate with any p c r s o ~ ~sngagcd
                                                                      s      in cl-im~nalactiwty and shall n o t associate with any pcrson c o n ~ . ~ c t co df a
             felon!-, unlcss yrantud pes~iiissionto do so by rhe probation ol'ficcr;

             the tic.fcnd.m! sl~all1-ervlt a probation ofticcr to visit him or her id m y time at hunic or elscwhete and sliall pennlt confiscat~onof an!
             cortrab3nd obsi.r\ ec In plain \ iew of the probation ofticcr;

                                                                                           of being art cstecl or flucsi io~lctlby a law cnforcen~entol'licur:
             tlic defendan1 shall not1 I) tlic probation officer with in scventy-two l1o~11.s

             the dcfcndrint shall not cntcr into any agrccriicnt to ~ c ;ISt 311informcr or a special a p t of J law enforcement agcnc). without the
             rermiss~onof the court; and

             as c!i~c c t ~ d'I!' tlie probation officcr, thc (lcfcr~dantshall notify third p.irtics of risks that mag he occasione~lby the dcI'cnd;mt7scrini~nalrecord
             01 ~ C ~ S O 11is;ory
                           I I ~ ~ or chxacte~isticsarid shall         permit thc prob,ition otl7ccr to m&c such notificat~onsand to confirn; thc defendant's
             comyliancc wllh such ~mt~tication          rcqu~rcmcnt.
       Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 4 of 6 PageID 168

A 0 245B IRc\:. 06/05) Sheet 3C - Supervised Release (Judgment in a Cr~minalCase)

Lefendant:         UE.UIT0 ROBERTO ZI'NIGA                                                                  Judg~ncnt- Page 1of 6
Case Z o :         .5:07-cr- 15 1 -T-30EA.I

                                          SPECIAL CONDITIONS OF SUPER\'lSIOX

         Thc dcfendmt shall also comply with thc following adclit~onalconditions o l ' s u p c ~ ~ s erelease:
                                                                                                       d

x
--       Should ihc de:'endant he deported, he'she shall not be allowed to re-entcr the Unitcd States without the express pel-mission of
         the a;y-oprtat': g o v e ~ ~ ~ n l e nauthority.
                                                tal

x
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

x
-        The mandatory dmg testing provisions shall apply pursuant to the Violent Crimc Control Act. The Court a~~thol-izes
                                                                                                                         random
         drug testing not to escced 103 tests per year.
        Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 5 of 6 PageID 169
A 0 245B (Rev 06/05) Shcet 5 - Criminal Monetary Penalties (.ludg~nent
                                                                     in a Crimin:~l Case)

Defendant:          BENITO ROBERTO ZUNlGA                                                               Judgment - Page 5 of 6
Case No.:           8:07-cr- 1 5 1-T-3OE.4J




          The defendant m u s ~pay the total criminal monetary penalties ~ ~ n t l 111c        of payments on Sheet 6.
                                                                                   e s scheci~~le
                             Assessment                             Fine                       Tot a1 Restitution

          Totals:            $1 00.00                               FVaived                    &/A


          Ths detsl~iiinatioiiof restitution is deferred until -.                                                     CUSP( A 0 245C) u-ill
                                                                                                       ill (7 Cri~ui~lul
                                                                              AH A1~rc.irt1r.d.Jr~dgt)~~~irf
          be entered aficr s~ichdeterniination.

-         The defendant must make rcstitution (including community restitution) to the follow in^ payees in the amount listed
          below.
          I f thc deferd;lnt makes a partial payment. eacli payee shall seceivc an approxi~mtelyproportionecl payment, unlcss
          spccificd o:licr\\,ise in thc priority ordei- or pel-centage payment colunm below. I-Io\ve\.er, pursuant to 18 U.S.C. 5
          3G(%(i),i:lI nm-fcdsral victims must be p a d befoore the Llnitud States.


Name of Payce                                   Total Loss*                   Ilcsti tution Ordered               Prioritv or Pel-cc11tag;c




                             Totals:

-         I<estirution .irnount ordered purs~~ant
                                               to plea agrce~nent $
-         Thl: t\cfii'~d:~nt
                           1111i~tpa} intercst on J fine or restitution of more than S2,500, ~mlcsstlle restitution 01. fine is paid in lid1
          bciors tlie filicenth day after the date oftlie judgmcnt. pursumt ro 1& Lr.S.C'. $ 361 2(1). All of the paymcnr options o n Slicet
          6 may be subjsc~to penalties for delhque~lcyand default. pursu.int to 1S U.S.C. $ 36 l?(g).

 -        The court dzternlined that the def'endant does not have the ability to pay interest and it is ordered that:

         -          the intercst reqiiirenicnt is v-aivsd for the - fine -- restitution.
         -          thc intc~-cs~
                               rquirenie~itfor the        line        restitutio~~
                                                                                 is nlodified as I'ollo~~s:


" Findings for thc total arilwnt of'losses arc reyuised under Chapters 109.A. 1 l(1. 110A: and 113,A of Title IS for the offenscs conml~ttsd
on or after September 13, 1994. but before April 23. 1996.
          Case 8:07-cr-00151-JSM-E_J Document 127 Filed 09/27/07 Page 6 of 6 PageID 170

                                                                                          -



Dzfelidant :       BEN 11'0 ROBERTO ZUNIGA                                                                    Judgment - ]'age      6    oi'&
Case No.:                 I5 1 -T--3OEAJ
                   8:07-CI--



                                                      SCHEDULE OF PAI'YI EJ-TS



Hm~ingassessed thc defendant's ability to pay, payment of the total criminal monetary penalties are due as follo\vs:

                   Lump sum paynlent of' S 100.00              due inimediately. balance due
                              -not later than                    , or



                    Paymcnt to begin immediately (may be co111bint.d with -C', -1). or -E' bclow): or
                    Payment in equal                 (e.g.: weekly, monthly. quarterly) iixtallrnents of S       over a pcriod
                    of
                    . -        (e.g.. months or years), to commence            days (e-g..30 or 60 days) after the date of'this

                    P q m m t in equal                (e-g.,weekly. monthly, quarterly) installlnents of $           over a pel-~odof
                                  , (e.g., ~iiontlisor y e m ) 10 commence                   (e.g. 30 or 60 clays) after release ti.om
                    impsisonintnt to n term of supervision: or
                    Payment during the term of supe~vised release will commence within                  ( e g , 30 or 60 days)
                    after releasc from imprisonment. The court will set the payment plan based on an assessment of the
                    defendant's abilit). to pay at that titile, or
                    Special instructions regarding the payment of criminal ~notletai-ypcnalties:




Unless the court has expressly ordered otherwise, if this judgment imposes iinpriscmnent, payment of criminal monetary
penalties is due during in~prisonment. All criininal ~nonetarypenalties, except those payments madc through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The dcfenda~tshall rtcei~recredit for all payments previously made toward any criininnl monetary penaltics imposed.

-         Joii-~tand Scvcral
        Defendant and Co-Defendant Names and Case Numbers (including dcientlant number). Total An~ount,Joint and
Several Amount, and corresponding payee. if appropriate:


-         rile defendan: shall pay thc cost ofprosecution,
-         The defendnnt shall pay the Sollo\ving court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the followii~gpropertv to the United States:
        The Court orders that the defendant forfeit to the United States imnediatclv and voluntarily any and all assets and
property. or portions tl~ereof,subject to forfeiture. which :Ire in the possession or control of the defendan1 or the defendant's
nominees.
i'zljrl.~zntsSIX 11 be a j ~ ~ l 111  d follou.ing order: (1) assessment. (1) rcst~tutionprincipal. ( 3 ) ~estinitioninterest. (1)fine principal, ( 5 )
                                 ~ ctl;e
fine interest, (6) comriiunity restitution, (7) penalt~es.and (8) costs. includ~ngcosl of prosecution and court costs.
